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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                  Chapter 11

    LORDSTOWN MOTORS CORP., et al.,1                         Case No. 23-10831 (MFW)

                                                             (Jointly Administered)
             Debtors.
                                                            Related Docket No. 975

    CERTIFICATE OF NO OBJECTION REGARDING SECOND INTERIM APPLICATION
      OF TROUTMAN PEPPER HAMILTON SANDERS LLP, AS COUNSEL FOR THE
       OFFICIAL COMMITTEE OF UNSECURED CREDITORS, FOR THE PERIOD
       FROM OCTOBER 1, 2023, THROUGH AND INCLUDING DECEMBER 31, 2023

                   The undersigned hereby certifies that she has received no formal or informal

objection or response to the Second Interim Application of Troutman Pepper Hamilton Sanders

LLP, as Counsel for the Official Committee of Unsecured Creditors, for the Period from October

1, 2023, Through and Including December 31, 2023 [Docket No. 975] (the “Application”), filed

by Troutman Pepper Hamilton Sanders LLP (“Troutman Pepper”) on February 14, 2024. The

notice attached to the Application established a deadline of March 5, 2024, at 4:00 p.m. (Eastern

Time) for filing and service of objections or responses to the Application.

                   The undersigned further certifies that she has reviewed the docket in these cases

and that no objection or response to the Application appears thereon.




1
      The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
      Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
      address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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             WHEREFORE, the undersigned respectfully requests that the Application be
approved.


Dated: March 7, 2024                 Respectfully submitted,
Wilmington, Delaware
                                     TROUTMAN PEPPER HAMILTON SANDERS LLP

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                                     Creditors



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